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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFO RNIA
                              SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiﬀ,     PLAINTIFFS’ MOTION FOR RELIEF FROM
                                                   NONDISPOSITIVE PRETRIAL ORDER OF
                        v.                         MAGISTRATE JUDGE

META PLATFORMS, INC.,                              [Fed. R. Civ. P. 72(a); Civ. L.R. 72-2]

                                                   REDACTED
               Defendant.




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                                                MOTION

       Plaintiﬀs hereby move under 28 U.S.C. § 636(b)(1)(A), Federal Rule of Civil Procedure 72(a),

and Local Rule 72-2 for relief from a nondispositive pretrial order of a Magistrate Judge. Plaintiﬀs

object to the “Discovery Order Re: Dkt. No. 105” (ECF 114) of August 22, 2024. Plaintiﬀs respectfully

ask the Court to set aside this order or modify it as set forth in the accompanying Points and Authorities.

          e Motion is based on this Motion, the accompanying Points and Authorities the [Proposed]

Order, the letter brief and other materials submitted in connection with the Motion, the records and

docket in this matter and any oral argument the Court may take.



Dated: September 5, 2024                         Respectfully Submitted,

                                                 By:          /s/ Joseph R. Saveri
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requisite authority and to show that, since 2020, Meta had constructive notice of the communications

between Dettmers and EleutherAI employees. Dettmers’s job title and responsibilities also suggest he

had the authority to make these disclosures. And, conspicuously absent from the supporting declarations

is any suggestion that Meta was unaware or that Dettmers was unauthorized to communicate with third

parties such as EleutherAI. If Dettmers lacked the authority to communicate with third parties such as

EleutherAI, one would think the declaration of Dettmers’s superior (or Dettmers himself) would have

disavowed it. Instead, the declarations contained disavowals of Meta’s intent to disclose privileged

information, which given Dettmers was acting as Meta’s agent, is beside the point.

       Meta’s eﬀorts to controvert these facts are ineﬀective, consisting of unreliable and suspect

evidence. In particular, the Court’s conclusion that Dettmers did not have authority to communicate with

others on the Discord channel related to his work at Meta is incorrect. In response to the evidence

Plaintiﬀs adduced, Meta only oﬀered ipse dixit declarations concluding that Dettmers had no authority.

ECF 105-2 (Zettlemoyer Decl. ¶¶ 6, 7); ECF 105-1(Dettmers Decl. ¶¶ 4, 5, 12).         e Order asserts,

without citation, and despite Meta bearing the burden on this point, that Meta made a “contrary showing

that Dettmers did not have this authority.” Order at 3.     e reason the Court did not cite any authority in

the record for this proposition is simple: there is none.   e Court erred by simply relying on Meta’s

declarations that “Dettmers did not have authority to waive the privilege.” Order at 2 (citing Zettlemoyer

Decl. ¶¶ 3, 5, 6, 7; Dettmers Decl. ¶¶ 4, 5, 12.). If that were suﬃcient—and it is not—a corporation

could always easily defeat a waiver claim by simply repeating these magic words. Here, the declarations

that Meta submitted are conspicuously silent on the point that matters—Meta never states Dettmers was

not authorized to communicate with third parties. Moreover, the facts do not corroborate Meta’s ipse

dixit assertion that it did not authorize Dettmers to engage in these communications or that Dettmers was

acting as Meta’s agent on the Discord channel.

Dettmers Voluntarily Disclosed the Materials Known to be Privileged.

       Judge Hixson also failed to apply the correct legal standard. In the Ninth Circuit, the Court

should look to determine whether one who disclosed privileged material did so with the intent to

disclose a document known to be privileged. In re Pac. Pictures Corp., 679 F.3d 1121, 1126–27 (9th Cir.

2012). Here, it is clear that Dettmers knew he was disclosing information, and he knew it was likely

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privileged based on his mandatory training. Zettlemoyer Decl. ¶ 3.

  e Order committed clear error by ﬁnding Meta took all reasonable steps to protect the privilege.

       Inadvertence of disclosure is only one factor in determining waiver. See In re Sause Bros. Ocean

Towing, 144 F.R.D. 111, 114-15 (D. Or. 1991). “Courts within the Ninth Circuit have embraced the

totality of the circumstances approach.” U.S. ex rel. Bagley v. TRW, 204 F.R.D. 170, 177 (C.D. Cal.

2001). On this point, the Order erred by concluding that Meta “took all reasonable steps to protect the

privilege.” Order at 4.   is is the wrong legal standard. Courts in the Ninth Circuit generally follow

Judge Wilken’s decision in Hartford Fire Ins. Co. v. Garvey, 109 F.R.D. 323 (N.D. Cal. 1985), which

involves an examination of the following elements: (1) the reasonableness of the precautions to prevent

inadvertent disclosure, (2) the time taken to rectify the error, (3) the scope of the discovery, (4) the

extent of the disclosure, and (5) the “overriding issue of fairness.” Id. at 332.   e test of reasonable steps

is rigorous. See In re Sealed Case, 877 F.2d 976, 980 (D.C. Cir. 1989) (“[I]f a client wishes to preserve

the privilege, it must treat the conﬁdentiality of attorney-client communications like jewels—if not

crown jewels.”). If Meta had taken adequate precautions to protect its privilege by properly training its

employee, it would not have been divulged in the ﬁrst place. Int’l Digit. Sys. Corp. v. Digit. Equip.

Corp., 120 F.R.D. 445, 449 (D. Mass. 1988)

          e Court erred by focusing on the reasonableness of the steps and ignoring the rest; Meta failed

to carry its burden as to each.   e only issue addressed by the Court was the ﬁrst, concluding Meta “took

all reasonable steps to protect the privilege.” Order at 4 (emphasis added); see United States v. de la

Jara, 973 F.2d 746, 750 (9th Cir. 1992) (“[P]rivilege [] [is] waived if the privilege holder fails to pursue

all reasonable means of preserving the conﬁdentiality of the privileged matter.”). Even after Meta was

on actual or constructive notice in 2020, Meta did nothing to restrain Dettmers’s communications or to

remediate his disclosure by retrieving them from the public Discord server, where they sat for two years

where anyone could see them. And with respect to LinkedIn, Meta’s eﬀorts appear to be half-hearted at

best. With respect to this ubiquitous platform, Meta only provides a hearsay declaration containing a

generalized descriptions of an unidentiﬁed member of its legal team’s unsuccessful eﬀorts to contact

LinkedIn. Order at 4; ECF 104-4 (Hartnett Decl.). Among other things, Meta failed to request removal

from the author of the post, or seek a court order compelling LinkedIn to remove these materials, which

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is apparently easy enough for Meta’s generative AI peers. E.g., Doe 1 v. GitHub, Inc., Case No. 22-cv-

06823-JST (N.D. Cal. Jan. 30, 2024), ECF 205 (ordering third-parties to remove erroneously ﬁled

pleading and replace with properly redacted version). Meta instead held up its hands, claiming such

eﬀorts “would have been futile and likely counterproductive.” Id. Plainly, Meta did not pursue all

reasonable means as this Circuit requires.

           e Court made no mention of the other four factors, perhaps because Meta did not raise them

either. Each compels a ﬁnding of waiver. Meta took at least two years to even begin to address the error

and, as of today, has still failed to remediate it. Here, far from a needle in a haystack, the scope of the

waiver is small and limited to speciﬁc materials placed in a public Internet space. It is fundamentally

unfair for Meta to wait two years until the material has been relied on in a complaint.

           e Court’s Order requires the Parties to ignore the public record.

           e Order fails to acknowledge or recognize this is a special case where the disclosed material is

placed on the internet. “[O]nce conﬁdential information has been published, it is no longer conﬁdential.”

Janssen Prods., L.P. v. Lupin Ltd., No. 2:10–05954 WHW, 2014 WL 956086, at *3 (D.N.J. Mar. 12,

2014) (collecting cases). Presently, the Subject Communications remain accessible to anyone in the

world with Internet access. See Est. of Bennet by Bennet v. Altec Indus., Inc., No. 05-CV-34-J, 2005 WL

8155489, at *2 (D. Wyo. Dec. 16, 2005) (rejecting claim of privilege where “[i]t has been undisputed

that for ﬁve months anybody who had access to the internet could view or print these documents.”). But

the Order does not explain, let alone analyze, how the privilege may still apply to publicly available

materials outside the parties’ control.1 See Younes., 2014 WL 1959246 at **2-3 (stating the sealing of

purportedly privileged information would be a “pointless exercise” because even if the material were

privileged, it “has already been published and is available on the internet,” and “would still be available

to anyone who wanted to see it.”).     is material was obtained by third parties long before Plaintiﬀs

obtained it. As a result of Meta’s insouciance, tardiness and lack of eﬀort, the materials still reside on the

Internet and have been reviewed increasingly over time.

         Conclusion.    e Court should set aside the Order and ﬁnd that (a) the Court erred by ﬁnding

Dettmers lacked the authority to waive the privilege; or (b) allow Plaintiﬀs to conduct further discovery.

1
 Plaintiffs note that contrary to Meta’s groundless insinuations to the Magistrate Judge below, Plaintiffs’
counsel has not had any attorney-client relationship or other formal relationship with Heldrup.
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